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               [Additional counsel listed on signature page]
       15
                                              UNITED STATES DISTRICT COURT
       16
                                             NORTHERN DISTRICT OF CALIFORNIA
       17

       18      R. A. FEUER, derivatively on behalf of WELLS         Case No. 4:18-cv-02866-JST
               FARGO & COMPANY,
       19                                          Plaintiff,       NOTICE OF INTENT TO FILE JOINT
                                                                    MOTION TO DISMISS BY FEBRUARY 22,
       20                       v.                                  2021
       21      JOHN D. BAKER, II, et al.,
                                                 Defendants,
       22
                                - and -
       23
               WELLS FARGO & COMPANY,
       24
                                          Nominal Defendant.
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                                                                         NOTICE OF INTENT TO FILE JOINT MOTION TO DISMISS
 SULLIVAN &
CROMWELL LLP                                                                                  CASE NO. 4:18-CV-02866-JST
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         1            On January 19, 2021, the parties in the above-captioned action filed a Stipulation and Proposed

         2     Order to Continue Case Management Conference (ECF No. 134) (the “Stipulation”), which requested a

         3     continuance of the case management conference previously set by the Court for January 26, 2021. The

         4     request for a continuance was based on Wells Fargo & Company (“Wells Fargo”) and Plaintiff’s

         5     intention to jointly move to dismiss this action by no later than February 15, 2021 on the grounds of res

         6     judicata based on the Order Granting Final Approval of Settlement and the final Judgment in the State

         7     Court CPI Action. The Court granted the Stipulation on January 21, 2021 and continued the case

         8     management conference to March 3, 2021. (ECF No. 135.)

         9            Wells Fargo and Plaintiff have now mutually agreed to extend the date on which they will

       10      jointly move to dismiss this action by seven days, to February 22, 2021. This extension will not affect

       11      any deadlines previously set by the Court.

       12

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 SULLIVAN &
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                                                                NOTICE OF INTENT TO FILE JOINT MOTION TO DISMISS
 SULLIVAN &
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         1                                  Attestation Pursuant to Local Rule 5-1(i)(3)
         2                    Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

         3     has been obtained from each of the other signatories.

         4     Dated: February 12, 2021                              /s/ Brendan P. Cullen
                                                                     Brendan P. Cullen
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